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                       IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

               v.
                                                              Case No. 21-cr-153 (RBW)
DANIEL GOODWYN

                       Defendant.



                          MOTION TO WITHDRAW AS COUNSEL

       Joseph D. McBride, an attorney of record for Daniel Goodwyn, a defendant in the above-

captioned case writes to inform this Honorable Court that on April 20, 2023, Mr. Goodwyn

terminated the attorney client relationship with Mr. McBride. A true copy of this correspondence

is set forth as Exhibit A, Under Seal. As such, Undersigned Counsel moves this Honorable Court

for an order allowing him to withdraw as attorney of record.

       WHEREFORE, it is respectfully requested that in consideration of the abovementioned

facts, this court issue an order permitting undersigned counsel to withdraw as attorney of record

and, by doing so, relieve him of any further obligation to this case.



Dated: New York, NY
April 20, 2022
                                                      Respectfully submitted,

                                                      /s/ Joseph D. McBride, Esq.
                                                      Bar ID: NY0403
                                                      THE MCBRIDE LAW FIRM, PLLC
                                                      99 Park Avenue, 6th Floor
                                                      New York, NY 10016
                                                      p: (917) 757-9537
                                                      e: jmcbride@mcbridelawnyc.com
                                                      Counsel for the Defendant



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